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8                             IN THE UNITED STATES DISTRICT COURT

9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10   PABLO R. LANDIN,

11                  Petitioner,                     No. 2:10-cv-0606 KJN P

12          vs.

13   RICHARD B. IVES, Warden,

14                  Respondent.                     ORDER

15                                           /

16                  Petitioner, a federal prisoner proceeding without counsel, has filed an application

17   for a writ of habeas corpus pursuant to 28 U.S.C. § 2241. Petitioner has paid the filing fee.

18                  Petitioner challenges a conviction entered in the United States District Court for

19   the District of Nebraska. Because petitioner challenges his conviction, his application must be

20   construed as an application for writ of habeas corpus under 28 U.S.C. § 2255. See Porter v.

21   Adams, 244 F.3d 1006 (9th Cir. 2001). Section 2255 applications must be heard in the district

22   where the conviction and sentence were entered. 28 U.S.C. § 2255(a). Therefore, the court will

23   order that this action be transferred to the District of Nebraska.

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1                        Accordingly, IT IS HEREBY ORDERED that this action be transferred to the

2    U.S. District Court for the District of Nebraska.

3    DATED: April 28, 2010

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6                                                   _____________________________________
                                                    KENDALL J. NEWMAN
7                                                   UNITED STATES MAGISTRATE JUDGE

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9    land0606.transfer


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